Case 3:13-cr-04510-JAH     Document 818        Filed 08/12/15   PageID.2960   Page 1 of
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  8                          UNITED STATES DISTRICT COURT
  9                        SOUTHERN DISTRICT OF CALIFORNIA
 10   UNITED STATES OF AMERICA,                   )   Case No. 13cr4510 JAH
                                                  )
 11                      Plaintiff,               )   ORDER GRANTING IN PART AND
      v.                                          )   DENYING IN PART DEFENDANT
 12                                               )   MARTIN’S MOTION TO DISMISS
      AARON DWAYNE PITTMAN, et al.,               )   AND DENYING DEFENDANTS
 13                                               )   BROWN AND MITCHELL’S
                         Defendants.              )   MOTIONS TO DISMISS
 14                                               )
                                                  )   [Docs. # 558, 567, 578, 609, 653]
 15                                               )
 16                                    INTRODUCTION
 17         Pending before the Court are defendant Tony Brown’s Motion to Dismiss Counts
 18   Two Through Five on Statute of Limitations Grounds [Doc. # 558], defendant Harold
 19   Randolph Martin’s Motion to Dismiss Counts Six, Seven and Eleven on Statute of
 20   Limitations Grounds [Doc. # 567, 578], and defendant Alvin Bernard Mitchell’s Motion
 21   to Dismiss Counts Six and Seven on Ex Post Facto Grounds [Doc. # 609]. Defendants
 22   Robert Banks III, Marcus Anthony Stevenson, Anthony Dwayne Edmond, John Devon
 23   Price, Marcus John Anthony Griffin, and Christopher Michael Wall have joined in
 24   defendant Brown’s motion. See Docs. # 559, 563, 564, 591, 592, 594. Defendants
 25   Jonathan Devon Price, Marcus Anthony Stevenson, and Christopher Michael Wall have
 26   joined in Martin’s motion. See Docs. # 591, 592, 594. Defendants Tony Brown, Robert
 27   Banks, III, and Jonathan Devon Price have joined in Mitchell’s motion. See Docs. # 617,
 28   619, 625. The government opposes the motions. Upon a thorough review of the parties’


                                                                                          13cr4510
Case 3:13-cr-04510-JAH      Document 818         Filed 08/12/15   PageID.2961    Page 2 of
                                            11


  1   submissions and after a careful consideration of the parties’ arguments at the hearing, this
  2   Court GRANTS IN PART and DENIES in part defendant Martin’s motion and DENIES
  3   defendants Brown and Mitchell’s motions in their entirety.
  4                                       BACKGROUND
  5         On December 19, 2013, the grand jury issued an indictment charging defendants
  6   Brown, Martin and Mitchell, along with multiple other defendants with violation of 18
  7   U.S.C. § 1962(d), Conspiracy to Conduct Enterprise Affairs through a Pattern of
  8   Racketeering Activity. See Doc. # 1. The grand jury issued a 37 count superseding
  9   indictment on November 20, 2014. See Doc. # 537. The superseding indictment alleges,
 10   inter alia, that, on August 12, 2000 and March 31, 2001, defendants Banks and Brown
 11   transported minor females (“MF1,” “MF9,” MF10,” MF11,”) in interstate commerce for
 12   prostitution purposes in violation of 18 U.S.C. §§ 1591(a) & (b), 2423(a) and 2 (Counts
 13   Two, Three, Four, Five); that, on October 16, 2002, defendants Mitchell and Martin
 14   transported a minor female (“MF8”) and an adult female (“AF42”) in interstate commerce
 15   for prostitution purposes (Counts Six, Seven); and that, between July 2009 and October
 16   19, 2009, defendant Martin recruited an adult female (“AF1”) through the use of force,
 17   threats of force, fraud, or coercion to engage in commercial sex acts in violation of 18
 18   U.S.C. §§ 1591(a), (b) and 1594(a) (Count 11).
 19         Brown filed his motion to dismiss on January 16, 2015, Martin filed his motion to
 20   dismiss on January 21, 2015, and Mitchell filed his motion to dismiss on February 13,
 21   2015. The government subsequently filed responses to all three motions. After this Court
 22   heard oral argument on the motions, the motions were taken under submission.
 23                                        DISCUSSION
 24   1.    Legal Standard
 25         In 1994, the statute of limitations in effect for sexual offenses against children ran
 26   until “the child reaches the age of 25 years.” 18 U.S.C. § 3509(k)(1990), amended 18
 27   U.S.C. § 3283 (1994)(“No statute of limitations that would otherwise preclude
 28   prosecution for an offense involving the sexual or physical abuse of a child under the age


                                                     2                                       13cr4510
Case 3:13-cr-04510-JAH      Document 818         Filed 08/12/15   PageID.2962     Page 3 of
                                            11


  1   of 18 years shall preclude such prosecution before the child reaches the age of 25.”).
  2   Section 3283 was revised in 2003 to provide that:
  3         No statute of limitations that would otherwise preclude prosecution for an
            offense involving the sexual or physical abuse, or kidnaping, of a child under
  4         the age of 18 years shall preclude such prosecution during the life of the
            child.
  5
  6   18 U.S.C. § 3283 (2003).
  7         Section 3283 was further revised in 2006, providing that:
  8         No statute of limitations that would otherwise preclude prosecution for an
            offense involving the sexual or physical abuse, or kidnaping, of a child under
  9         the age of 18 years shall preclude such offense during the life of the child, or
            for ten years after the offense, whichever is longer.
 10
 11   18 U.S.C. § 3283 (2006). 18 U.S.C. § 3299, was revised in 2006 as well, providing that:
 12         Notwithstanding any other law, an indictment may be found or an
            information instituted at any time without limitation for any offense under
 13         section 1201, involving a minor victim, and for any felony under chapter
            109A, 110, 2257 and 2257A or 117 [18 U.S.C. § 2421 et seq.] or section
 14         1591.
 15   18 U.S.C. 3299 (2006). Sexual offenses other than offenses against children fall under
 16   the provisions of 18 U.S.C. § 3282, which provides that:
 17
            Except as otherwise expressly provided by law, no person shall be prosecuted,
 18         tried or punished for any offense, not capital, unless the indictment is found
            or the information is instituted within five years next after such offense shall
 19         have been committed.
 20   2.    Analysis
 21         a.     Brown’s Motion to Dismiss
 22         Brown moves to dismiss Counts Two through Five of the Superseding Indictment
 23   on statute of limitations grounds. Count Two alleges a violation of 18 U.S.C. § 2423(a)
 24   (transportation of a minor across state lines for purposes of prostitution) based on conduct
 25   that occurred in August 2000.       Counts Three, Four and Five allege violations of
 26   18 U.S.C. § 1591 (sex trafficking of children) involving two minors, ages 15 and 16, based
 27   on conduct that occurred in March 2001.
 28   //


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Case 3:13-cr-04510-JAH          Document 818           Filed 08/12/15     PageID.2963         Page 4 of
                                                  11


  1           Brown presents two arguments in support of his motion to dismiss: (a) assuming
  2   § 3283 is the applicable statute of limitations here, the version in effect at the time of the
  3   offense prohibited prosecution in this case; and (b) even if the Court finds the subsequent
  4   versions of § 3283 are retroactive, § 3283 does not apply to the charges in this case. See
  5   Doc. # 558-1 at 4.
  6           Section 3509(k) was in effect at the time the alleged offenses occurred which tolled
  7   the statute of limitations until the victim reached aged 25. It is undisputed the oldest
  8   victim would have turned age 25 in April 2009 and the younger victims would have turned
  9   age 25 shortly thereafter. Id. Had the statute of limitations not been amended in 2003
 10   and 2006, it would have been time barred from bringing these charges. Id. at 6. However,
 11   as explained in United States v. Chief, 438 F.3d 920 (9th Cir. 2006), the amendments
 12   effectively extended the limitations period.
 13           In Chief, the defendant was alleged to have committed a sex offense against a child
 14   in 1997, but the United States did not bring the indictment until 2004. Chief argued that
 15   the prior version of the statute had expired at the time the indictment was brought but the
 16   Ninth Circuit disagreed, holding that since Congress extended the statute of limitations
 17   for sex offenses involving minors during the time the previous statute was still running, the
 18   extension was permissible. Chief, 438 F.3d at 924.
 19           The Chief decision is controlling here. Brown cites only to out-of-district authority
 20   that is not persuasive here.1 The Ninth Circuit has clearly spoken on the issue of whether
 21   the extensions to § 3283 are constitutionally permissible and whether they serve to extend
 22   the statute of limitations for the charges alleged in this case. See Chief, 438 F.3d at 924.
 23   Thus, it follows that this Court should not revisit that decision.
 24           Next, Brown contends that, even if the Court determines Congress manifested a
 25   clear intent that the § 3283 amendments apply retroactively, none of the versions of
 26
 27           1
                Specifically, Brown and Martin both cite to United States v. Richardson, 512 F.2d 105 (3rd Cir.
      1975), claiming the Richardson case is directly on point. However, this Court agrees with the government,
 28   as set forth during oral argument, that the Richardson case is not persuasive based on the fact that it was
      decided in 1975 and is not a Ninth Circuit decision.

                                                           4                                              13cr4510
Case 3:13-cr-04510-JAH          Document 818           Filed 08/12/15    PageID.2964        Page 5 of
                                                  11


  1   § 3283 apply to Brown because neither § 2423(a) (count two) nor § 1591 (counts three,
  2   four and five) categorically involve sexual abuse of a minor, which is required to trigger the
  3   applicability of § 3283.        However, as noted by the government, in United States v.
  4   Carpenter, 680 F.3d 1101 (9th Cir. 2012), the Ninth Circuit held that the definition of
  5   “sexual abuse” under § 3509(a) applies to § 3283 to extend the statute of limitations for
  6   certain offenses involving children. In Carpenter, the defendant contended the shorter five
  7   year statute of limitations applied but the Ninth Circuit held that the courts look to
  8   § 3509(a) for the definition of “sexual abuse” and use it to apply “section 3283's extended
  9   statute of limitations.” Carpenter, 680 F.3d at 1104. Thus, the Ninth Circuit’s decision
 10   in Carpenter forecloses Brown’s argument concerning the applicability of the shorter five-
 11   year limitations period. Because the Ninth Circuit has spoken on this issue and has
 12   determined the statute of limitations for the offenses charged here is governed by § 3283,
 13   and § 3299, and that the extensions of the statute of limitations period in 2003 and 2006
 14   are constitutionally permissible, this Court finds it inappropriate to reexamine that
 15   determination by using a different approach. Therefore, Brown’s motion is DENIED.2
 16          b.      Mitchell and Martin’s Motions to Dismiss
 17          Defendants Mitchell and Martin each filed a motion to dismiss Counts Six and
 18   Seven of the superseding indictment on statute of limitations grounds. Mitchell also seeks,
 19   in the alternative, dismissal of Counts Six and Seven on ex post facto grounds. In addition,
 20   Martin moves to dismiss Count Eleven as untimely based on the five year limitations
 21   period for adult offenses set forth in 18 U.S.C. § 3282. The motions have been joined by
 22   defendants Brown, Banks, Stevenson, Wall and Price. Both Mitchell and Martin filed
 23   amended motions containing substantially the same arguments presented in their original
 24   motions.
 25          As to both defendants, Count Six alleges a violation of 18 U.S.C. § 2423(a)
 26   (transportation of a minor across state lines for purposes of prostitution, involving a
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                Martin presents the same arguments in his motion in regards to Counts Six and Seven. This Court
      finds the analysis is identical and DENIES Martin’s motion for the same reasons.

                                                           5                                            13cr4510
Case 3:13-cr-04510-JAH       Document 818        Filed 08/12/15   PageID.2965    Page 6 of
                                            11


  1   15 year old (“MF8”) ) and Count Seven alleges a violation of 18 U.S.C. §§ 2421 and 2
  2   (transportation of an individual across state lines for purposes of prostitution, involving
  3   an 18 year old female (“AF42”)). Both counts are based on conduct that occurred on
  4   October 16, 2002. Count Eleven alleges Martin violated 18 U.S.C. §§ 1591(a), (b) and
  5   1594(a) (recruitment of an adult female (“AF1”) through the use of force, threats of force,
  6   fraud, or coercion to engage in commercial sex acts) between July 2009 and October 19,
  7   2009.
  8                 1.     Statute of Limitations
  9           Both Mitchell and Martin contend that, because the statute of limitations in Counts
 10   Six and Seven expired and Congress did not express a clear intent for subsequently enacted
 11   statutes of limitations to apply retroactively, these two counts should be dismissed. Both
 12   defendants point out that MF8, who was 15 on October 16, 2002, must have turned 25
 13   on or before October 16, 2012, and, thus, as to Count Six, the limitations period under
 14   § 3509(k)’s expired sometime before October 16, 2012.            As to Count Seven, the
 15   defendants point out that § 3283’s five year limitations period expired on October 16,
 16   2007. Therefore, according to defendants, under §§ 3283 and 3509(k), both counts are
 17   time-barred unless the newly enacted § 3299 applies retroactively. The defendants
 18   contend that, under statutory construction principles, which both defendants claim should
 19   be applied first before reaching the issue of whether the statutes’ application is
 20   constitutional, the statutes should not be retroactively applied. In addition, Martin
 21   contends that, under a strict categorical analysis, Counts Six, Seven and Eleven should be
 22   dismissed as untimely based on the five-year limitations period set forth in 18 U.S.C.
 23   § 3282.
 24           Mitchell cites extensively to I.N.S. v. St. Cyr, 533 U.S. 289 (2001), in support of
 25   his statutory construction arguments. In St. Cyr, a permanent resident alien filed a
 26   petition for habeas corpus, seeking review of decision of Board of Immigration Appeals
 27   (“BIA”) that he was removable by reason of having pleaded guilty to aggravated felony and
 28   was ineligible to apply for discretionary relief from deportation. The district court


                                                     6                                       13cr4510
Case 3:13-cr-04510-JAH         Document 818         Filed 08/12/15   PageID.2966    Page 7 of
                                               11


  1   determined that it had jurisdiction and that repeal of discretionary relief from deportation
  2   did not apply retroactively to the alien. The Court of Appeals affirmed. Certiorari was
  3   granted. The Supreme Court, Justice Stevens, held, among other things, that provisions
  4   of AEDPA and IIRIRA repealing discretionary relief from deportation did not apply
  5   retroactively to alien, who pled guilty to sale of controlled substance prior to statutes’
  6   enactment.
  7             The Supreme Court, in St. Cyr, stated that:
  8             The inquiry into whether a statute operates retroactively demands a
                commonsense, functional judgment about ‘whether the new provision
  9             attaches new legal consequences to events completed before its enactment.
                (internal citation omitted). A statute has retroactive effect when it “ ‘takes
 10             away or impairs vested rights acquired under existing laws, or creates a new
                obligation, imposes a new duty, or attaches a new disability, in respect to
 11             transactions or considerations already past....’ (footnote and internal
                citations omitted). As we have repeatedly counseled, the judgment whether
 12             a particular statute acts retroactively “should be informed and guided by
                ‘familiar considerations of fair notice, reasonable reliance, and settled
 13             expectations.’
 14   St. Cyr, 533 U.S. at 321.
 15             Mitchell contends that this guidance should be followed here and, in doing so, the
 16   Court must apply statutory construction principles before reaching any constitutional
 17   issues.     Under these principles, Mitchell argues that the statutes should not have
 18   retroactive effect.
 19             Mitchell’s statutory construction arguments are not convincing. Although there is
 20   some merit to his claim concerning the propriety of applying statutory construction
 21   principles prior to determining whether the extension of the statute of limitations is
 22   constitutional, it should be noted that none of the cases cited by Mitchell involve these
 23   particular statutes and, in fact, none of them concern sex crimes against minors. Because
 24   the Ninth Circuit, in Chief, which was decided five years after St. Cyr, did not deem it
 25   necessary to apply statutory construction principles prior to determining the
 26   constitutionality of the statutes at bar, this Court is not required to do so at the behest of
 27   Mitchell. Therefore, this Court finds Mitchell’s arguments unpersuasive.
 28   //


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Case 3:13-cr-04510-JAH        Document 818          Filed 08/12/15    PageID.2967       Page 8 of
                                               11


  1          As to Martin’s contention that Count Eleven is barred by the five year limitations
  2   period set forth in § 3282, this Court finds defendant’s argument persuasive.3 Count
  3   Eleven charges defendant Martin with recruiting an adult female (AF1) through the use
  4   of force, threats of force, fraud or coercion to engage in commercial sex acts in violation
  5   of 18 U.S.C. §§ 1591(a), (b) and 1594(a). This charge alleges unlawful conduct between
  6   July 2009 and October 19, 2009. The original indictment was filed on December 19,
  7   2013 but it did not contain Count Eleven. Defendant Martin was charged as to Count
  8   Eleven in the superseding indictment filed on November 20, 2014, approximately one
  9   month after the five year statute of limitations for this offense expired. As such, this Court
 10   finds that the charge alleged in Count Eleven is untimely and, as such, must be dismissed.
 11   Accordingly, Martin’s motion to dismiss Count Eleven is GRANTED.
 12                  2.     Ex Post Facto
 13          Mitchell alternatively contends that, should the Court not find Counts Six and
 14   Seven time barred, then the Court should find the charges violative of the ex post facto
 15   clause. This Court finds Mitchell’s contention unavailing.
 16          Article I of the United States Constitution provides that neither Congress nor any
 17   state shall pass an ex post facto law. Art. I, § 9, cl. 3; Art. I, § 10, cl. 1. “Although the Latin
 18   phrase ‘ex post facto’ literally encompasses any law passed ‘after the fact,’ it has been
 19   recognized ... that the constitutional prohibition on ex post facto laws applies only to penal
 20   statutes which disadvantage the offender affected by them.” Collins v. Youngblood, 497
 21   U.S. 37, 41 (1990); see also Rise v. Oregon, 59 F.3d 1556, 1562 (9th Cir. 1995) (a law
 22   which implicates the ex post facto clause of the Constitution is one which “criminalizes
 23   conduct that was not a crime when it was committed, increases the punishment for a crime
 24   beyond what it was at the time the act was committed, or deprives a person of a defense
 25   available at the time the act was committed.”).
 26          Mitchell explains that, in Stogner v. California, 539 U.S. 607, 612 (2003), the
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              This Court notes that the government neither addressed the issue in its response to Martin’s
      motion nor during oral argument.

                                                        8                                           13cr4510
Case 3:13-cr-04510-JAH        Document 818         Filed 08/12/15   PageID.2968      Page 9 of
                                              11


  1   Supreme Court identified four categories to be considered in adjudicating ex post facto
  2   claims. Doc. # 609-1 at 16. Those four categories are: any law that:
  3          (1) “makes an action done before the passing of the law, and which was innocent
  4          when done, criminal; and punishes such action;”
  5          (2) “aggravates crime, or makes it greater than it was, when committed;”
  6          (3) “changes the punishment, and inflict a greater punishment, than the law
  7          annexed to the crime, when committed;”
  8          (4) “alters the legal rules of evidence, and receives less, or different, testimony, than
  9          the law required at the time of the commission of the offence, in order to convict
 10          the offender.”
 11   Mitchell contends §§ 3283 and 3299 fall within the “fourth category because they ‘alter
 12   the legal rules of evidence’ by allowing the government to prosecute Mr. Mitchell with
 13   evidence that -- before the statutes’ enactments -- would have been inadequate to obtain
 14   a conviction.”
 15          However, the decision in Stogner focused on whether the limitations period has
 16   expired before the statute was enacted that extended the limitations period. See Riskin v.
 17   Martel, 2011 WL 3300340 * 8 (E.D.Cal. July 29, 2011)(citing Renderos v. Ryan, 469
 18   F.3d 788, 795 (9th Cir. 2006)(because the statute at issue “was enacted while the
 19   limitations period were still running on the claims against Renderos[,] [t]his is ... precisely
 20   the type of statute that Stogner expressly stated it was not striking down.”); see also Suong
 21   v. Cate, 12015 WL 727138 *11-12 (E.D. Cal. Feb. 24, 2014)(ex post facto arguments may
 22   be raised when time-barred prosecutions are revived by statute but when a statute is
 23   enacted while the limitations period was still running, no ex post facto arguments may be
 24   raised)).
 25          Thus, this Court finds Stogner does not aid Mitchell here because both statutes had
 26   not expired when the new statute extending the statute of limitations was enacted.
 27   Although Mitchell argues Stogner did not expressly so state, it clearly follows that, because
 28   the ex post facto violation found in Stogner was based on expired statutes that were revived


                                                       9                                         13cr4510
Case 3:13-cr-04510-JAH      Document 818      Filed 08/12/15    PageID.2969      Page 10 of
                                            11


  1   by the new law, there can be no such violation if the statutes have not expired. See Riskin,
  2   2011 WL 3300340 at * 8; Renderos, 469 F.3d at 795; see also United States v. Chief, 438
  3   F.3d 920, 924 (9th Cir. 2006).
  4         Based on this reasoning, Mitchell’s ex post facto arguments fail.       Accordingly,
  5   Mitchell’s motion to dismiss Counts Six and Seven is DENIED in its entirety.
  6                                CONCLUSION AND ORDER
  7         Based on the foregoing, IT IS HEREBY ORDERED that:
  8         1.     Defendant Brown’s motion to dismiss Counts Two through Five [doc.
  9                # 558] is DENIED.
 10         2.     Defendant Martin’s motion to dismiss [docs. #567, 578] is GRANTED in
 11                part and DENIED in part as follows:
 12                a.     Defendant Martin’s motion to dismiss Count Eleven is GRANTED;
 13                       and
 14                b.     Defendant Martin’s motion to dismiss Counts Six and Seven is
 15                       DENIED;
 16         3.     Defendant Mitchell’s motion to dismiss Counts Six and Seven on statute of
 17                limitations and ex post facto grounds [docs. # 609, 653] is DENIED.
 18         4.     The joinders filed by defendants Banks, Stevenson, Edmond, Price, and
 19                Griffin to defendant Brown’s motion [docs. # 559, 563, 564, 591, 592, 594]
 20                are DENIED.
 21         5.     The joinders filed by defendants Price, Stevenson, and Wall to Mitchell’s
 22                motion [docs. # 617, 619, 625] are DENIED.
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Case 3:13-cr-04510-JAH         Document 818        Filed 08/12/15       PageID.2970       Page 11 of
                                                 11


  1          6.      The joinders filed by defendants Brown, Banks, and Price to Martin’s motion
  2                  [docs. # 591, 592, 594] are DENIED.4
  3
  4   Dated:         August 11, 2015
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  6                                                          JOHN A. HOUSTON
                                                             United States District Judge
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               Only Martin is charged in Count Eleven. Therefore, the joinders do not apply to Martin’s motion
      to dismiss Count Eleven.

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